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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

  EBBESKOV JANKOVIC, LLC,
  d/b/a iUSE PHOTOGRAPHY,
  a Florida Limited Liability Company,                     CASE NO.: 0:21-cv-62410-AHS

            Plaintiff,
  v.
                                      DEFENDANTS’ MOTION TO DISMISS THE
  LIV DAGMAR JOHANSEN, an individual; FIRST AMENDED COMPLAINT AND FOR
  LARS SACKSEN, an individual; and          SANCTIONS PURSUANT TO
  LIVNESS, INC., d/b/a LIV VISUALS,              28 U.S.C. § 1927
  a California Company,

            Defendants.

             Defendants, LIV DAGMAR JOHANSEN, an individual (“Johansen”), and LIVNESS,

  INC., d/b/a LIV VISUALS, a California Company (“Livness” and, with Johansen, “Defendants”),

  by and through the undersigned, and pursuant to Federal Rules of Civil Procedure 12(b)(6), hereby

  files this Motion to Dismiss the First Amended Complaint, [Dkt. No. 26], filed by Plaintiff,

  EBBESKOV JANKOVIC, LLC, d/b/a iUSE PHOTOGRAPHY, a Florida Limited Liability

  Company (“Plaintiff”), and for Sanctions Pursuant to 28 U.S.C. §1927, and, in support thereof,

  states as follows:

       I.        INTRODUCTION

       Plaintiff instituted this action on November 29, 2021 against Johansen, individually, and

  against her company, Livness. [Dkt. No. 1]. The Complaint, however, was riddled with facial

  defects and Defendants thus filed a Motion to Dismiss. [Dkt. No. 18]. Amongst other issues, said

  Motion to Dismiss attacked (i) the shotgun-styled nature of the initial Complaint, (ii) the failure of

  Plaintiff to allege all elements of its alleged breach of a restrictive covenant, (iii) the improperness

  of suing Johansen in her individual capacity when she only signed the contract at issue as a

  corporate officer, (iv) the illegality of Plaintiff’s pursuit of a so-called liquidated damages remedy

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  as a “penalty” against Defendants, and (v) the deficient nature of the pled claim for injunctive

  relief. Id. In response to the Motion to Dismiss, Plaintiff acknowledged the inappropriateness of

  its pursuit for liquidated damages and injunctive relief, and independently withdrew those claims.

  See, e.g., [Dkt. No. 20, at 9 wherein Plaintiff states that it “Agrees to Withdraw Its Request for

  Liquidated Damages”]; see also [Dkt. No. 20, at 10, wherein it states “Plaintiff agrees to dismiss

  its claim for Injunctive Relief”]. This Court thereafter dismissed the remaining counts finding

  Plaintiff (i) employed impermissible shotgun pleading, (ii) failed to plead all required elements of

  a breach of restrictive covenant, and (iii) improperly sued Johansen in her individual capacity.

  [Dkt. No. 25]. Plaintiff thereafter filed an amended complaint, and this Motion to Dismiss follows.

         As explored in detail below, not only does the Amended Complaint suffer many of the

  same fatal defects as the first, but, worse, Plaintiff has now boldly, and in bad faith, pled frivolous

  claims of fraud and unjust enrichment against Johansen in her individual capacity, and similarly

  frivolous claims against Johansen’s husband, Lars Sacksen. The frivolity and pure tactical nature

  of all such claims is clear. For example, although Plaintiff has inserted Mr. Sacksen into this

  lawsuit, Plaintiff has, to date, done nothing to have summons issued or served. And, as for the

  fraud count against Johansen, the “fraud” alleged by Plaintiff relates to a supposed promise made

  by Johansen that she and her company – Livness -- would pay the liquidated damage “penalty” in

  the event of a breach of the underlying contract. Plaintiff amazingly asserts this alleged “promise”

  constitutes fraud even after the liquidated damage pursuit was withdrawn due to its illegality. In

  other words, Plaintiff is trying to get through the back door that which the law did not permit to

  enter through the front. Such frivolity and bad faith should not be tolerated, and Plaintiff should

  be sanctioned for such egregious pleading practice.




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           For the foregoing reasons, and all those that follow, Defendants respectfully request that

  this Court dismiss the Amended Complaint with prejudice, and impose sanctions against Plaintiffs

  for injecting frivolous claims into these proceedings.

     II.      STANDARD OF REVIEW

           Federal Rule of Civil Procedure 12(b)(6) permits the dismissal of a complaint for failure

  to state a claim upon which relief can be granted. See FED. R. CIV. P. 12(b)(6). The United States

  Supreme Court’s decision in Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167

  L.Ed.2d 929 (2007), and in its subsequent decision in Ashcroft v. Iqbal, 129 S. Ct. 1937, 17 L.Ed.2d

  1868 (2009), altered the manner in which courts are to analyze a Rule 12(b)(6) motion to dismiss.

  Under the now-settled standard, a claim must have facial plausibility, which is realized “when the

  plaintiff pleads factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.” Id. The mere possibility that the defendant acted

  unlawfully is insufficient to survive a motion to dismiss. Id. The “complaint must include ‘[f]actual

  allegations [adequate] to raise a right to relief above the speculative level.’” Financial Sec.

  Assurance, Inc. v. Stephens, Inc., 500 F.3d 1276, 1282 (11th Cir. 2007) (quoting Twombly, 550

  U.S. at 570, 127 S. Ct. at 1964-65 (2007)). “The well-pled allegations must nudge the claim ‘across

  the line from conceivable to plausible.’” Id. (citing Twombly, 550 U.S. at 570, 127 S.Ct. at 1974).

  Importantly, “[c]onclusory allegations, unwarranted deductions of fact or legal conclusions

  masquerading as facts will not prevent dismissal.” American Dental Association v. CIGNA

  Corporation, 605 F.3d 1283, 1291 (11th Cir. 2010); see also Jackson v. Bellsouth Telecomms.,

  372 F.3d 1250, 1262 (11th Cir. 2004). These types of allegations are not to be considered when

  the court is determining whether the factual allegations of the complaint are enough to state a

  plausible claim. See Iqbal, 129 S. Ct at 1950.



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            Based on the foregoing principles, courts should adopt the following “two-pronged

  approach” in adjudicated motions to dismiss: 1) eliminate any allegations in the complaint that are

  merely legal conclusions; and 2) where there are well-pleaded factual allegations, “assume their

  veracity and then determine whether they plausibly give rise to an entitlement to relief.” Id.

  Importantly, as the Supreme Court stated in Twombly and subsequently in Iqbal, courts may infer

  from the factual allegations in the complaint “obvious alternative explanation[s],” which suggest

  lawful conduct rather than the unlawful conduct the plaintiff would ask the court to infer. Id. at

  1951- 52 (quoting Twombly, 550 U.S. at 567, 127 S.Ct. at 1972). Against his backdrop, and as

  more fully explained below, Defendants respectfully request dismissal of the Amended Complaint.

                                        MEMORANDUM OF LAW

     III.      PLAINTIFF’S FRIVOLOUS CLAIM OF FRAUD AGAINST JOHANSEN IS NOTHING MORE
               THAN ITS EFFORT TO REPACKAGE ITS ILLEGAL AND UNTENABLE CLAIM FOR
               LIQUIDATED DAMAGES, AND MUST THEREFORE BE DISMISSED WITH PREJUDICE

            Arguably the most egregious and frivolous aspect of Plaintiff’s Amended Complaint is its

  pleading of a claim of fraud against Johansen in her individual capacity. Such pleading only came

  after Plaintiff withdrew its $250,000 liquidated damages claim, and only after Johansen was

  dismissed individually from this lawsuit. Stated differently, despite acknowledging that it has no

  right to pursue its claim of $250,000 in liquidated damages, and despite Johansen being

  individually dismissed from this case, Plaintiff has now sought to circumvent settled law and

  continue to leverage Johansen by conjuring up a frivolous claim against her at this stage. Such an

  effort must not be tolerated.

            As noted above, when faced with a motion to dismiss its claim for liquidated damages,

  Plaintiff withdrew such claim from this lawsuit. See, e.g., [Dkt. No. 20, at 9 wherein Plaintiff states

  that it “Agrees to Withdraw Its Request for Liquidated Damages”]. Such an about-face withdrawal



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  of the claim was upsetting (as Defendants were forced to incur unnecessary expenses to brief the

  issue to this Court despite the prefiling meet and confer efforts of the undersigned), but such was

  not entirely surprising as Florida law is unequivocal on this topic. See, e.g., Resnick v. Uccello

  Immobilien GMBH, Inc., 227 F.3d 1347, 1350 (11th Cir. 2000) (discussing Florida law, and noting

  that “liquidated damages are inappropriate when they serve only to punish the breaching party.”).

            To be clear, Florida law indisputably prohibits the enforcement of so-called “liquidated

  damage clauses” that are intended to serve as a penalty, rather than as reasonable compensation to

  redress an alleged breach. Indeed, the law requires that “the sum stipulated to be forfeited must

  not be so grossly disproportionate to any damages that might reasonably be expected to follow

  from a breach as to show that the parties could have intended only to induce full performance,

  rather than to liquidate their damages.” Goldblatt v. C.P. Motion, Inc., 77 So.3d 798, 800 (Fla. 3d

  DCA 2011); see also Resnick, 227 F.3d at 1350 (same). This requirement is meant to ensure that

  the liquidated provision does not seek to penalize a party in the event of breach.

            Application of the foregoing settled law required dismissal of Plaintiff’s liquidated

  damages claim, and thus prompted Plaintiff’s withdrawal of it from this suit. Indeed, in this

  instance, the inquiry was rather simple as the express verbiage in the contract deliberately and

  unequivocally refers to the liquidated damages on three separate occasions as a penalty to be

  assessed as a consequence of a breach. Specifically, the clause unambiguously provides that the

  stated liquidated amount is intended to operate as a consequential “penalty” in the event of a

  breach:

            5.4… Any breach of this condition will result in the [breaching party] paying an
                 agreed upon penalty of US Dollars 250,000 to use IUSE photography for
                 each such breach. Payment of the agreed penalty does not legalize the breach.
                 Apart from the agreed penalty, the [breaching party] is further obligated to
                 pay compensation to IUSE photography in accordance with Florida law.



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  (Compl. at ¶5, citing Subcontractor Agreement §5.4) (emphasis added). This recitation alone voids

  the provision as a matter of Florida law. See Circuitronix, LLC v. Shenzhen Kinwong Electronic

  Co., Ltd., 2019 WL 12036283, *6 (S.D. Fla. Feb. 8, 2019) (“Florida law prohibits liquidated

  damages provisions that serve only as a penalty for breach.”). Even then, however, the so-called

  liquidated damages clause was independently illegal and unenforceable as it afforded Plaintiff the

  supposed ability to seek liquidated damages in addition to other monetary “compensation…in

  accordance with Florida law.” See Baron, 573 So.2d at 330 (holding that a liquidated damages

  clause that provides the ability to seek liquidated damages or actual damages “constituted a penalty

  as a matter of law because the existence of the option negated the intent to liquidate damages.”).

  For all of the foregoing reasons, Plaintiff’s claim premised on the improper pursuit of liquidated

  damages was ripe for dismissal, and Plaintiff thus withdrew it from this litigation.

         Remarkably, however, despite its withdrawal of the illegal liquidated damages claim,

  Plaintiff now seeks to recover the exact same illegal remedy under a claim of fraud in the

  inducement. Specifically, Plaintiff now alleges that Johansen fraudulently told Plaintiff that “she

  would pay [Plaintiff] $250,000.00 as a consequence for any breach…” and that Johansen “knew

  or should have know the representation was false.” [Dkt. No. 26, at 16]. Plaintiff thus accuses

  Johansen of stipulating to the illegal liquidated damages clause in the underlying contract while

  knowing of its unenforceable nature, and is attempting to sue her for fraud as a result. Setting aside

  the absurdity of such a proposition, the previously cited jurisprudence makes irrefutably clear that

  a pursuit of liquidated damages as a “consequence” (i.e., a penalty) for any breach is simply

  unenforceable, even if the parties may have stipulated to the “penalty.” See Goldblatt, 77 So.3d at

  800 (“The mere fact that the [parties] stipulated to an otherwise unenforceable liquidated damages




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  clause does not automatically render the clause enforceable.”). Plaintiff’s pursuit of such a claim

  in the face of such settled jurisprudence is vexatious and unwarranted.

         The frivolity and bad faith nature of this repackaged failed liquidated damages claim into

  a fraud claim is even further buttressed by Florida law dictating that litigants are not permitted to

  sue for fraud where the underlying claim was borne from an unenforceable contractual

  commitment. See, e.g., Pelletier v. Stuart-James Co., Inc., 863 F.2d 1550, 1555–56 (11th Cir.

  1989) (“appellant's theory based on a fraudulent refusal to perform a contract…must fail because

  the alleged agreement is unenforceable as a matter of law. Where a contract is unenforceable, an

  action for damages cannot be maintained on the ground of fraud in refusing to perform the contract,

  even though the promisor at the time of making the oral contract may have had no intention of

  performing it.”) (citing Canell v. Arcola Hous. Corp., 65 So. 2d 849, 851 (Fla. 1953) (holding

  action for fraud cannot be maintained since it was “simply an attempt in an indirect manner to

  obtain damages for breach of the contract.”); Topp, Inc. v. Uniden Am. Corp., 483 F. Supp. 2d

  1187 (S.D. Fla. 2007) (claim for fraud could not be maintained where there was no enforceable

  oral agreement between the parties); Perfumerias Unidas, S.A. v. Coty Prestige Travel Retail &

  Exp., LLC, 06-CIV-23116, 2007 WL 9709776, at *9 (S.D. Fla. Aug. 7, 2007) (explaining that in

  Topp, the court held that an alleged oral contract was unenforceable under statute of frauds and

  that “recasting an unenforceable breach of contract claim as a fraud claim was not allowed;” and

  concluding the plaintiff “is merely repackaging its unenforceable oral contract claim as a fraud

  claim”); Dixon v. Countrywide Fin. Corp., 664 F. Supp. 2d 1304, 1309–10 (S.D. Fla. 2009) (“the

  Court concludes that Plaintiff's claims for violation of FDUTPA, negligent misrepresentation and

  fraud and deceit, being premised upon the same conduct and representation as the barred breach

  of contract claim, are likewise barred by the banking statute of frauds and must be dismissed.”).



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            For all of the foregoing reasons, Defendants respectfully submit that the claim against

  Johansen for fraud must be dismissed with prejudice. Further, inasmuch as Plaintiff (and its

  counsel) knew or should have known of the frivolity of this repackaged claim, Defendants further

  request that this Court should sanction Plaintiff to deter any such similar conduct in the future. 1

      IV.      PLAINTIFF’S UNJUST ENRICHMENT CLAIM MUST BE DISMISSED AS IT SEEKS TO
               IMPROPERLY IMPOSE PERSONAL LIABILITY ON A CORPORATE OFFICER, AND
               BECAUSE AN EXPRESS CONTRACT EXISTS CONCERNING THE SAME SUBJECT MATTER

            Plaintiff continues its contemptuous bad faith attempt to get in through the back door that

  which it could not get through the front when it further seeks to hold Johansen personally liable

  for unjust enrichment. Such an additional improper attempt to circumvent Florida law also comes

  after this Court’s May 6, 2022 Order rejecting Plaintiff’s initial attempt to hold Johansen

  personally liable under its breach of contract theory. Absent facts not present or pleaded here, a

  corporate officer cannot be held individually liable on a contract unless s/he signed in an individual

  capacity. This Court thus found that Johansen could not be personally liable for a breach of the

  underlying agreement since it was signed by her on behalf of her corporate entity. See [Dkt. 25 at

  6, dismissing claim for personal liability against Johansen because “[i]t is clear, when viewing the

  agreement alone, that Johansen executed it in her corporate and not individual capacity for the

  reasons Defendant explains above.”]. This same reality should preclude Plaintiff’s back-door

  attempt to hold Johansen personally liable on an alternative unjust enrichment claim. Indeed,

  Florida’s Fourth District Court of Appeal rejected a similar attempt by a plaintiff in Fulton v.

  Brancato, 189 So. 3d 967, 969–70 (Fla. 4th DCA 2016), wherein the plaintiff sought to hold a


  1
    Inasmuch as the alleged “promise” by Johansen to pay the illegal penalty was not set forth in the underlying
  agreement, the fraud count (even if proper) would fail on this additional independent basis. See also Eclipse Medical,
  Inc. v. American Hydro-Surgical Instruments, Inc., 262 F.Supp.2d 1334, 1342 (S.D. Fla. 1999) (quoting Barnes v.
  Burger King Corp., 932 F.Supp. 1420, 1428 (S.D.Fla.1996)(“fraudulent inducement claims will fail even where the
  subsequent contract simply says nothing about the allegedly false promise. The Barnes court held that ‘it is a basic
  tenet of contract law that reliance on representations by a contracting party in a suit based on the contract is
  unreasonable where the representations are not contained in the subsequent written agreement between the parties.’”).

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  corporate officer personally liable under an unjust enrichment theory that stemmed from an alleged

  breach of an express agreement the plaintiff maintained with the individual defendant’s corporate

  entity. Rejecting a claim of unjust enrichment under such scenario, the Fourth District noted the

  “main body of corporate law is to the effect that directors, officers and stockholders are not liable

  for corporate acts simply by reason of their official relation to the corporation.” Id. at 969-70. The

  same holds true sub judicie and, as a result, Plaintiff’s newly minted claim of unjust enrichment

  must be dismissed with prejudice. Plaintiff should not be able to impose personal liability on

  Johansen for what amounts to corporate activity.

         As an aside, even if this well-established jurisprudence and the Court’s prior finding were

  somehow overlooked, Plaintiff’s claim for unjust enrichment against Johansen would still fail for

  the related but independent reason that a plaintiff cannot pursue a quasi-contract claim

  for unjust enrichment if an express contract exists concerning the same subject matter. See, e.g.,

  Kirchner v. Ocwen Loan Servicing, LLC, 257 F. Supp. 3d 1314, 1324 (S.D. Fla. 2017).

  Nonetheless, Plaintiff has clearly attempted an end-around to this fundamental rule by making a

  claim for unjust enrichment against an individual member (Johansen) of the party to the underlying

  Agreement (Livness, Inc.), stemming from an alleged breach of the underlying Agreement itself.

         Plaintiff’s effort to bend the law to its liking should fail, as, under the factual circumstances

  herein, the prohibition against unjust enrichment claims in the face of an express agreement on the

  same subject matter applies not only to the parties to the agreement, but also to their privies. See

  Fulton, 189 So.3d at 969-70 (holding trial court should not have allowed unjust enrichment claim

  against an individual defendant and her agency where an express agreement between the

  defendant’s agency and the buyers’ agency existed); see also, e.g., Roedler v. Dept. of Energy, 255

  F.3d 1347, 1354-55 (Fed. Cir. 2001) (“The district court correctly held that the existence of an



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   express contract between the United States and Northern States Power, establishing their mutual

   obligations with respect to the fees at issue, negates the existence of an implied-in-fact contract

   between the United States and the utility’s customers on the same subject matter.”); Vitale v.

   Steinberg, 764 N.Y.S.2d 236, 239 (N.Y. App. Div. 2003) (“the existence of the plan agreement,

   an express contract governing    the      subject   matter   of   plaintiff’s   claims,   also    bars

   the unjust enrichment cause of action as against the individual defendants, notwithstanding the fact

   that they were not signatories to that agreement”); Morales v. Dalworth Oil Co., 698 S.W.2d 772,

   775 (Tex. App. 1985) (“[t]here could be no implied contract between appellant and appellee as the

   subject matter of the alleged implied contract was covered by a valid express contract between

   appellee and the other defendants”); G & S Bus. Servs., Inc. v. Fast Fare, Inc., 380 S.E.2d 792,

   795 (N.C. App. 1989) (“where there is a contract between two parties to furnish goods and services

   for the benefit of a third, the third party is not liable on an implied contract or under quantum

   meruit for those goods and services.”).

          Indeed, as this Court has already determined, Plaintiff’s proposed pleading would allow it

   to circumvent the express contract and plead a claim against the individual members of Defendant

   Livness, Inc. on a quasi-contractual basis. Allowing this claim to proceed would negate the express

   agreement and run afoul of the well-established principle that a court cannot imply a contract when

   an express one exists. Kirchner, 257 F. Supp. 3d at 1342. This is particularly true here, where the

   damages claimed under the quasi-contract and breach of contract are identical. See Fulton, 189

   So. 3d at 969-70 (agreeing that personal liability could not exist because no evidence of a personal

   benefit beyond that allegedly received by the corporate entity). Adoption of Plaintiff’s position

   would make every corporately related individual potentially liable for contractual breaches

   committed by the organization of which the individual is a mere member. It is respectfully



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   submitted that such a proposition would erode the liability protections afforded by company or

   corporate ownership and upend the established law regarding same. As such, Defendants submit

   that the Court should not embrace such an absurd result, and the claim for unjust enrichment should

   be dismissed with prejudice.

      V.      PLAINTIFF’S AMENDED COMPLAINT STILL FOLLOWS AN IMPERMISSIBLE SHOTGUN-
              STYLED PLEADING APPROACH AND MUST BE DISMISSED

           One of the primary deficiencies in Plaintiff’s original pleading was the shotgun-styled

   approach it took to assert its claims and allegations against Defendants. As a result, Defendants

   sought dismissal based on the lack of clarity of the pleading. This Court agreed, dismissed the

   Complaint, and demanded clarity should an amendment be filed. Although Plaintiff has amended

   its Complaint, the confusing and shotgun-styled nature of the pleading continues to persist.

           As alluded to previously, Rules 8(a) and 10(b), together, establish the pleading standards

   to which a complaint must adhere. Morrison v. Morgan Stanley Properties, 2008 WL 149975, *3

   (S.D. Fla. Jan. 14, 2008)(Rules “8(a) and 10(b) establish the necessary form to which a complaint

   must adhere.”). Rule 8(a) requires, in pertinent part, that a pleading set forth “a short and plain

   statement of the claim showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). To

   satisfy this minimum pleading threshold, complimentary Rule 10(b) requires that a party “state its

   claims or defenses in numbered paragraphs, each limited as far as practicable to a single set of

   circumstances….” (emphasis added). In other words, Rules 8(a) and 10(b) work in tandem to

   avoid improper shotgun style pleading where plaintiffs either “comingle[] allegations by

   incorporating all claims and allegations into the others,” or where plaintiffs “fail[] to separate

   allegations and facts into distinct, separate paragraphs.” Warner v. CBRE, Inc., 2013 WL

   12084301, *3 (S.D. Fla. Dec. 11, 2013).




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            Reminiscent of the original complaint, a review of Plaintiff’s Amended Complaint

   demonstrates that it falls woefully short of meeting the threshold pleading requirements of Rules

   8 and 10, and, worse, that it resembles a shotgun-style pleading in several material respects. For

   example, although numbering is used to separate paragraphs, many of Plaintiff’s numbered

   paragraphs still include a hodgepodge of allegations jammed into the same paragraph, thus making

   it difficult for Defendants to respond. See, e.g., [Dkt. No. 1, at ¶¶ 8, 13, 14, 20, 48]. The most

   egregious example of this improper pleading is found in paragraph numbers 13 and 48, where

   Plaintiff provides pages worth of a collection of excerpts from the contract at issue, and its

   appendices, including cut/pasted excerpts of clauses entitled, (i) “Non-Solicitation of Customers”;

   (ii) “Non-Solicitation of Employees/Contractors”; (iii) “NON-Compete Agreement – Settling Up

   / Establishment of Competing Business”; (iv) “Section 7 – Confidentiality”; (v) “Confidentiality”;

   (vi) the definition of “Information”; and (vii) “Article 2: Recipients and obligations” where

   subsection 2.1 is cut/pasted into the Complaint. [Dkt. No. 26, at 4-6, 13-15]. Plaintiff’s literal cut

   and pasting of these distinct clauses and sections of the agreement (and its appendices) into a

   SINGLE paragraph is tantamount to an impermissible shotgun-style pleading approach. For this

   reason alone, the Complaint should be dismissed. Warner, 2013 WL 12084301, *3 (a second

   amended complaint was dismissed as it was “riddled with multiple allegations per paragraph,

   making the filing a responsive answer virtually impossible.”)


      VI.      PLAINTIFF’S BREACH OF CONTRACT COUNT FAILS TO SATISFY THE MINIMUM
               PLEADING REQUIREMENTS AND, AS SUCH, THE CLAIM MUST BE DISMISSED

            Plaintiff’s original and amended Complaint center on the alleged breach of non-compete

   and non-solicitation provisions contained within the underlying agreement at issue. In other words,

   Plaintiff seeks to enforce such covenants to restrain trade and stifle competition. In doing so,



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   however, Plaintiff sidesteps a critical part of its claim. Specifically, in order to invoke the diversity

   jurisdiction of this Court, Plaintiff accurately pleads that Livness “is a California company with

   its principal place of business in Los Angeles County.” [Dkt. No. 26, at 1] [emphasis added]. This

   is important, as the non-compete provision that Plaintiff seeks to enforce only encompasses

   activity “within the State of Florida.” [Dkt. No. 26-1, at 7] [emphasis added]. Plaintiff glosses

   over this fact throughout its Amended Complaint, but there is no doubt that it is aware of this

   dilemma. Indeed, without any explanatory substantiation at all (because none exists), Plaintiff

   merely sprinkles a few gratuitous references to Florida within its amended complaint, namely the

   conclusory suggestions that Livness, (i) is presently “operating its business in the State of Florida

   and [is] offering services in the State of Florida,” [Dkt. No. 26, at 5], (ii) is “attempting to create a

   competing real estate photography business in the State of Florida,” [Dkt. No. 26, at ¶14], and (iii)

   “maintains a business address in South Florida…[and has] solicited business in the State of

   Florida,” [Dkt. No. 26, at ¶22; see also ¶41]. Plaintiff stops noticeably short to delineate any

   “facts” to support these conclusory allegations, such as an identification of Livness’ supposed

   Florida address and the nature of the alleged Florida-based activity; instead, Plaintiff merely

   generalizes – in total conclusory fashion – a supposed connection to Florida. Such pleading

   practice is improper, and should be rejected.

           As alluded to in the introductory section of this Motion, a complaint can only survive a

   motion to dismiss where a plaintiff “pleads factual content that allows the court to draw the

   reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

   678 (emphasis added). In other words, a “complaint must include ‘[f]actual allegations

   [adequate] to raise a right to relief above the speculative level.’” Stephens, Inc., 500 F.3d at 1282

   (quoting Twombly, 550 U.S. at 570) (emphasis added). Thus, while “a complaint attacked by a



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   Rule 12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiff's obligation

   to provide the grounds of his entitlement to relief requires more than labels and conclusions,

   and a formulaic recitation of the elements of a cause of action will not do.” Bundow v. State

   Farm Mut. Auto. Ins. Co., 2008 WL 11335096, at *1 (M.D. Fla. Aug. 27, 2008) (quoting Twombly,

   550 U.S. at 555) (emphasis added).

          At bar, in order for Plaintiff to be entitled to any relief under its breach of contract count,

   it must factually allege (and ultimately prove) that Defendant Livness, “a California company

   with its principal place of business in Los Angeles County,” is actually conducting business in

   the State of Florida. Specifically, even assuming arguendo that the underlying agreement is valid

   and enforceable, the scope of the Non-Compete clause at issue is unambiguously geographically

   limited to the State of Florida:




   [Dkt. No. 26-1, at 7]. No doubt aware of this geographic limitation, Plaintiff alleges that Livness

   is operating in Florida (which it is not), and suggests that Livness maintains an “address” in the

   State (which it does not); but, aside from these formulaic recitations of a necessary component of

   Plaintiff’s claim, the Amended Complaint is devoid of any factual allegations supporting these

   conclusory statements of intrastate activity (as none exists). Indeed, Plaintiff does not even identify

   the supposed Florida address that Defendant Livness, “a California company with its principal

   place of business in Los Angeles County,” supposedly maintains in this state. These voids of

   factual assertions are important as “[c]onclusory allegations, unwarranted deductions of fact or

   legal conclusions masquerading as facts will not prevent dismissal.” American Dental Association

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   v. CIGNA Corporation, 605 F.3d 1283, 1291 (11th Cir. 2010); see also Jackson v. Bellsouth

   Telecomms., 372 F.3d 1250, 1262 (11th Cir. 2004). In fact, these types of allegations are not

   considered when determining whether the complaint sets forth a sufficiently plausible claim to

   withstand a motion to dismiss. See Iqbal, 129 S. Ct at 1950.

          Based on the foregoing, Defendants respectfully submit that Plaintiff’s claim of breach of

   contract must be dismissed for failing to state a cause of action upon which relief may be granted.

      VII.    PLAINTIFF SHOULD BE SANCTIONED FOR ITS BAD FAITH PLEADING PRACTICE THAT
              IS ONLY AIMED AT HARASSING DEFENDANTS IN THIS LAWSUIT

          Pursuant to 28 U.S.C. §1927, a district court has the inherent power to sanction conduct of

   the parties or their attorneys. Chambers v. NASCO, Inc., 501 U.S. 32, 43-44 (1991). “According

   to the Eleventh Circuit, ‘[t]he key to unlocking the inherent power of the Court is a finding of bad

   faith.’” Barash v. Kates, 585 F. Supp. 2d 1347, 1361 (S.D. Fla. 2006) (citing Barnes v. Dalton,

   158 F.3d 1212, 1214 (11th Cir.1998)). “Under the bad faith exception, the Court may assess

   attorney's fees where a party has acted in bad faith, vexatiously, wantonly, or for oppressive

   reasons.” Id. (citations omitted). “[T]he Eleventh Circuit has stated that bad faith may be found

   where an attorney knowingly or recklessly raises a frivolous argument, or argues a meritorious

   claim for the purpose of harassing an opponent.” Id. (citing Barnes, 158 F.3d at 1214). This is

   precisely what has occurred sub judice.

          The bad faithed nature of this lawsuit is most glaringly noticed through Plaintiff’s vexatious

   pleading of fraud and unjust enrichment in the Amended Complaint, which is intended to

   circumvent Florida law in an effort to oppress and harass Defendants through this lawsuit. Indeed,

   Plaintiff can have no good faith basis to think that reconstructing a failed illegal liquidated damages

   claim into a fraud claim was grounded in good faith; nor could it have a legitimate reason to assert

   the newly minted unjust enrichment claims. Rather, these claims (as well as the claim of breach

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   which has no basis in fact as Plaintiff knows full well that Defendants are not operating in the

   State of Florida) are recklessly inserted into this litigation in an effort to extort and harass

   Defendants. As such, Defendants respectfully request that this Court invoke its inherent authority

   under 28 U.S.C. §1927 and sanction Plaintiff and/or its counsel for such bad faith conduct. It is

   requested that such sanctions include the prejudicial dismissal of this lawsuit, and remuneration of

   attorneys’ fees, or for such other and further relief this Court deems just under the circumstances.

          WHEREFORE, for all of the foregoing reasons, Defendants, LIV DAGMAR

   JOHANSEN, an individual, and LIVNESS, INC., d/b/a LIV VISUALS, a California Company

   (collectively “Defendants”), by and through the undersigned, respectfully request an Order be

   entered dismissing the First Amended Complaint filed by Plaintiff, EBBESKOV JANKOVIC,

   LLC, d/b/a iUSE PHOTOGRAPHY, a Florida Limited Liability Company (“Plaintiff”), and

   sanctioning Plaintiff and/or its counsel under 28 U.S.C. §1927 for injecting clearly frivolous claims

   into these proceedings, with such sanctions including, but not necessarily being limited to, the

   prejudicial dismissal of this lawsuit, and remuneration of attorneys’ fees, or for such other and

   further relief this Court deems just under the circumstances.

   Dated: June 3, 2022.

                                   Respectfully submitted,


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                                    CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

   Court using the CM/ECF system, on June 3, 2022, which will send a notice of electronic filing to

   all attorneys of record as per the below Service List.

                                   By:   /s/ Alexander D. Brown
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